                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

SCOTT AND RHONDA BURNETT, RYAN                        )
HENDRICKSON, JEROD BREIT, SCOTT                       )
TRUPIANO, AND JEREMY KEEL, on behalf                  )
of themselves and all others similarly situated,      )
                                                      )
                Plaintiffs,                           )
                                                      )
        v.                                            )       Case No. 19-CV-00332-SRB
                                                      )
THE NATIONAL ASSOCIATION OF                           )
REALTORS, REALOGY HOLDINGS CORP.,                     )
HOMESERVICES OF AMERICA, INC., BHH                    )
AFFILIATES, LLC, HSF AFFILIATES, LLC,                 )
RE/MAX LLC, and KELLER WILLIAMS                       )
REALTY, INC.,                                         )
                                                      )
                Defendants.                           )

                                             ORDER

       Before the Court is Defendant National Association of Realtors (“NAR”), Realogy

Holdings Corp., HomeServices of America, Inc., BHH Affiliates, LLC, HSF Affiliates, LLC,

RE/MAX LLC, and Keller Williams Realty, Inc.’s (collectively, “Defendants”) Motion to

Exclude Expert Testimony of Roger Alford. (Doc. #919.) For the reasons stated below, the

motion is DENIED.

       I. FACTUAL BACKGROUND

       The facts of this case are discussed in prior Orders and in the parties’ briefs, and will not

be repeated herein. This Order assumes familiarity with the facts and law applicable to the

claims and defenses asserted in this case. Only those facts and issues necessary to resolve the

pending motion are discussed below.

       Plaintiffs have retained Roger Alford (“Alford”) as an expert in this case. Alford is a

Professor of Law and a Concurrent Professor at the Keough School of Global Affairs at the


      Case 4:19-cv-00332-SRB           Document 1021         Filed 12/20/22      Page 1 of 6
University of Notre Dame, a Faculty Fellow at the Kellogg Institute for International Studies,

and a Faculty Fellow at the Nanovic Institute for European Studies. His teaching and research

focus on international economic law, arbitration, trade, comparative law, and competition and

antitrust law. Alford has been retained by the Plaintiffs to “assist the trier of fact in

understanding complicated concepts and principles.” (Doc. #968, p. 5.)1

           Defendants now move to strike Alford’s expert report and to exclude him from testifying

at trial. Defendants argue that Alford’s opinions are inadmissible under Federal Rule of

Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

Plaintiffs oppose the motion, and the parties’ arguments are addressed below.

           II. LEGAL STANDARD

           Federal Rule of Evidence 702 governs the admissibility of expert testimony. See Fed. R.

Evid. 702; Wagner v. Hesston Corp., 450 F.3d 756, 758 (8th Cir. 2006). Rule 702 provides that

a witness who is qualified as an expert may offer testimony if:

              (a) the expert’s . . . specialized knowledge will help the trier of fact to
              understand the evidence or to determine a fact in issue; (b) the testimony is
              based on sufficient facts or data; (c) the testimony is the product of reliable
              principles and methods; and (d) the expert has reliably applied the principles
              and methods to the facts of the case.

Fed. R. Evid. 702(a)-(d). Federal Rule of Evidence 703 further provides in part that “[a]n expert

may base an opinion on facts or data in the case that the expert has been made aware of or

personally observed.” Fed. R. Evid. 703.

           To fulfill its “gatekeeping” role, a court faced with a proffer of expert testimony must

determine at the outset whether the evidence “both rests on a reliable foundation and is relevant

to the task at hand.” Daubert, 509 U.S. at 597. Daubert emphasized that the inquiry required by



1
    All page numbers refer to the pagination automatically generated by CM/ECF.

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         Case 4:19-cv-00332-SRB               Document 1021           Filed 12/20/22   Page 2 of 6
Rule 702 is intended to be flexible. Id. at 594. “The proponent of the expert testimony must

prove its admissibility by a preponderance of the evidence.” Lauzon v. Senco Prods., Inc., 270

F.3d 681, 686 (8th Cir. 2001).

       Due to the liberalization of expert testimony admission standards signaled by Daubert

and its progeny, and the codification of this trend in Rule 702, the Eighth Circuit has held that

expert testimony should be liberally admitted. Johnson v. Mead Johnson & Co., LLC, 754 F.3d

557, 562 (8th Cir. 2014) (“Daubert and Rule 702 thus greatly liberalized what had been the strict

. . . standards for admission of expert scientific testimony.”); Robinson v. GEICO Gen. Ins. Co.,

447 F.3d 1096, 1100 (8th Cir. 2006) (“A review of the caselaw after Daubert shows that the

rejection of expert testimony is the exception rather than the rule.”) (citations and quotations

omitted). As long as the expert testimony “rests upon good grounds, based on what is known, it

should be tested by the adversary process with competing expert testimony and cross-

examination, rather than excluded by the court at the outset.” Johnson, 754 F.3d at 562 (citations

and quotations omitted). The exclusion of expert testimony is proper “only if it is so

fundamentally unsupported that it can offer no assistance to the jury[.]” Wood v. Minn. Mining

& Mfg. Co., 112 F.3d 306, 309 (8th Cir. 1997) (citations and quotations omitted).

       III. DISCUSSION

       Defendants argue that Alford’s opinions should be excluded for three primary reasons.

Each argument is addressed below.

               1. Methodology and Reliability

       Defendants argue that Alford was “unable to point to any methodology, source, expert, or

market analysis used to come to his conclusions.” (Doc. #920, p. 11.) Specifically, Defendants

contend that Alford could not “point to any independent validation of his methods.” (Doc. #920,

p. 11.) Defendants further contend that for Alford, “ it is impossible to assess or challenge
                                                 3

      Case 4:19-cv-00332-SRB           Document 1021         Filed 12/20/22      Page 3 of 6
Alford’s methodology on a substantive basis because he simply does not have one.” (Doc. #920,

p. 11.) As explained below, the Court rejects these arguments.

       A district court may admit expert testimony if it “is satisfied with the expert’s knowledge,

skill, experience, training, or education, and the expert’s testimony is reasonably based on that

expertise[.]” Weitz Co. v. MH Washington, 631 F.3d 510, 527 (8th Cir. 2011).

       Alford has followed a “standard antitrust analysis of horizontal conduct as set forth in

Antitrust Guidelines for Collaborations Among Competitors issued by the FTC and DOJ and

cited several times in his Report.” (Doc. #968, p. 14.) Alford’s report applied a “widely

accepted analytical framework jointly issued by the FTC and DOJ to evaluate the Challenged

Restraints.” (Doc. #968, p. 15.)

       Under these circumstances, the Court finds that Alford’s opinions are reliable and based

on an adequate methodology. In particular, Alford presented a 37-page report, which

demonstrates his analysis of historical and public information about the real estate industry,

along with academic and government reports. Alford has sufficient knowledge, experience, and

training in residential real estate transactions, and his opinions are “reasonably based on that

expertise.” Weitz Co., 631 F.3d at 527. Defendants’ arguments are more suited for cross-

examination, not exclusion.

               2. Knowledge and Experience

       Defendants argue that Alford lacks the knowledge and experience needed to offer expert

opinions about residential real estate matters. This argument is rejected for many of the same

reasons discussed above.

       “Gaps in an expert witness’s qualifications or knowledge generally go to the weight of

the witness’s testimony, not its admissibility.” American Auto. Ins. Co. v. Omega Flex, Inc., 783

F.3d 720, 726 (8th Cir. 2015).
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      Case 4:19-cv-00332-SRB           Document 1021         Filed 12/20/22      Page 4 of 6
       As explained by Plaintiffs, Alford is sufficiently knowledgeable and qualified based on

his significant consulting work for a major residential real estate company, REX, and his twenty-

plus years of teaching antitrust law. Also, he has served as a Deputy Assistant Attorney General

with the Antitrust Division of the U.S. Department of Justice (“DOJ”), where he was part of the

senior leadership team and worked on matters involving the real estate industry. Subsequently,

Alford worked with private companies to further study the real estate market and produced an

article addressing the topic. Under these circumstances, the Court rejects Defendants’ arguments

regarding Alford’s knowledge and experience. Defendants’ arguments are more suited for cross-

examination, not exclusion.

               3. Factual Support

       Defendants argue that Alford’s opinions should be excluded because they are not

supported by sufficient facts. According to Defendants, “Alford’s Report is replete with

sweeping assertions that highly disputed material facts actually occurred.” (Doc. #920, p. 13.)

Defendants’ further assert that Alford “presented disputed material facts as undisputed despite

having no support whatsoever for his positions.” (Doc. #920, p. 14.)

       “As a general rule, the factual basis of an expert opinion goes to the credibility of the

testimony, not the admissibility, and it is up to the opposing party to examine the factual basis

for the opinion in cross-examination.” Bonner v. ISP Tech., Inc., 259 F.3d 924, 929

(8th Cir. 2001) (citations and quotation marks omitted).

       Upon review, the Court rejects Defendants’ argument. The Court finds that Alford’s

opinion is sufficiently supported by the record. In advancing his opinions, Alford relies on

documents created by the Defendants. For instance, Alford refers to how his analysis

incorporates NAR’s “Guiding Documents, including the Code of Ethics and Handbook on

Multiple Listing Policy.” (Doc. #920-1, p. 38.) Alford opines that the “training materials and
                                                 5

      Case 4:19-cv-00332-SRB           Document 1021         Filed 12/20/22      Page 5 of 6
policies followed by brokerage firms support sellers’ testimony that commission rates are

presented by agents as standard and that negotiation by sellers on agent compensation levels is

discouraged.” (Doc. #920-1, p. 23.) Alford also identifies a voluminous set of materials that he

relied upon, as well as his own knowledge and experience.

        For the reasons discussed above, Alford’s opinions are based on sufficient facts and

data. Defendants’ arguments are more suited for cross-examination, not exclusion. See id.

       IV. CONCLUSION

       For the foregoing reasons, and for the additional reasons stated by Plaintiffs, it is hereby

ORDERED that Defendants’ Motion to Exclude Expert Testimony of Roger Alford (Doc. #919)

is DENIED.

       IT IS SO ORDERED.


                                                     /s/ Stephen R. Bough
                                                     STEPHEN R. BOUGH
                                                     UNITED STATES DISTRICT JUDGE
Dated: December 20, 2022




                                                 6

      Case 4:19-cv-00332-SRB          Document 1021         Filed 12/20/22       Page 6 of 6
